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11   Fassio Egg Farms, Inc.

12                                UNITED STATES DISTRICT COURT

13                                        DISTRICT OF NEVADA

14    HARRY WISEMAN,                                    Case No. 3:19-cv-00153-RCJ-CBC
15                          Plaintiff,
      vs.
16
      JACOBS ENTERTAINMENT INC., a
17    Delaware Corporation; ROCKY MOUNTAIN
      EGGS, INC., a California Corporation; SYSCO       MOTION TO REMOVE COUNSEL FROM
18    USA 1, INC., a Delaware Corporation; DOES 1       SERVICE LIST AND ORDER
      through 10, inclusive; and ROE ENTITIES 1
19    through 10, inclusive,
20                          Defendants.
21    ROCKY MOUNTAIN EGGS, INC.,
22                          Third-Party Plaintiffs,
      vs.
23
      SHEPHERD & SONS POUNTRY FARM,
24    INC.; SHEPHERDS’S PROCESSED EGGS,
      INC.,
25
                            Third-Party Defendants.
26
      SHEPHERD & SONS POULTRY FARM,
27    INC.; SHEPHERDS’S PROCESSED EGGS,
      INC.,
28


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                             Third-Party Plaintiffs,
 1    vs.
 2    SYSCO CORPORATION, SYSCO USA 1,
      INC. and JACOBS ENTERTAINMENT, INC.;
 3    MOES 1 through 10, inclusive; and ZOE
      ENTITIES 1 through 10, inclusive,
 4
                             Third-Party Defendants.
 5

 6            Rachel L. Wise, Esq., requests an Order from this court removing Jessica C. Collier, Esq. as

 7    counsel for Third-Party Defendant Fassio Egg Farms, Inc. from all service lists, including the

 8    Court’s electronic notification list, in the above-captioned case under Local Rule IA 11-6.

 9            Ms. Collier is no longer employed with Wilson, Elser, Moskowitz, Edelman & Dicker LLP

10    (“Wilson Elser”). Ms. Wise of Wilson Elser will continue to be counsel of record for Third-Party

11    Defendant Fassio Egg Farms, Inc.

12            DATED this 29th day of January, 2021.

13
                                                             WILSON, ELSER, MOSKOWITZ,
14                                                           EDELMAN & DICKER LLP

15
                                                                   /s/ Rachel L. Wise
16                                                           Rachel L. Wise, Esq.
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21

22                                                             IT IS SO ORDERED.

23                                                             Dated: January 29, 2021

24
                                                               ___________________________________
25                                                             UNITED STATES MAGISTRATE JUDGE

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 1                                    CERTIFICATE OF SERVICE

 2            Pursuant to FRCP 5, I certify that I am an employee of WILSON, ELSER, MOSKOWITZ,

 3    EDELMAN & DICKER LLP and that on this 29th day of January, 2021, I served a true and correct

 4    copy of the foregoing document as follows:

 5                 by placing same to be deposited for mailing in the United States Mail, in a sealed
                   envelope upon which first class postage was prepaid in Las Vegas, Nevada;
 6
                   via electronic means by operation of the Court’s electronic filing system, upon each
 7                 party in this case who is registered as an electronic case filing user with the Clerk;
 8                 via hand-delivery to the addressees listed below;
 9                 via facsimile;
10                 by transmitting via email the document listed above to the email address set forth
                   below on this date before 5:00 p.m.
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15
      and                                               and
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27    Rocky Mountain Eggs, Inc.
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 6

 7                        BY: /s/ Agnes R. Wong
                              An Employee of
 8                            WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP
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